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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )
                     Plaintiff,                )
                                               )                8:09CR337
       vs.                                     )
                                               )                 ORDER
DOUGLAS HOLLIBAUGH,                            )
                                               )
                     Defendant.                )


       This matter is before the court on defendant's renewed motion to continue trial (Doc.
23). The motion is unopposed, and the court finds that the defendant has shown good
cause for a continuance, due to defense counsel's scheduling conflicts.

       IT IS ORDERED that the motion to continue trial (Doc. 23) is granted, as follows:

       1. The jury trial now set for November 17, 2009 is continued to January 5, 2010.

        2. In accordance with 18 U.S.C. § 3161(h)(7)(A), the court finds that the ends of
justice will be served by granting this continuance and outweigh the interests of the public
and the defendant in a speedy trial. Any additional time arising as a result of the granting
of this motion, that is, the time between November 17, 2009 and January 5, 2010, shall
be deemed excludable time in any computation of time under the requirement of the
Speedy Trial Act because the failure to grant a continuance would deny the defendant
reasonable time to obtain counsel, would unreasonably deny the defendant or the
Government continuity of counsel, or would deny counsel for the defendant or the attorney
for the Government the reasonable time necessary for effective preparation, taking into
account the exercise of due diligence. 18 U.S.C. § 3161(h)(7)(A) & (B)(iv).

       DATED November 3, 2009.

                                             BY THE COURT:

                                             s/ F.A. Gossett
                                             United States Magistrate Judge
